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                       IN THE UNITED STATES DISTRICT COURT
7                                DISTRICT OF ARIZONA
8    United States of America,             ) Case No.: CR-23-0040-001-PHX-SMB
                                           )
9                                          )
                  Plaintiff,               )
10                                         ) ORDER
           vs.                             )
11
                                           )
12                                         ) (Defendant is Out of Custody)
     Diana Marie Moore,                    )
13                                         )
14
                                           )
                  Defendant.               )
15
16         Upon Motion of Defendant, Diana Marie Moore, Assistant U.S. Attorney Aron J.
17
     Ketchel having no objection, and good cause appearing therefrom;
18
19         IT IS ORDERED granting Defendant’s First Motion to Continue Sentencing
20
     (Doc. 46.)
21
22         IT IS FURHTER ORDERED continuing the September 18, 2023 Sentencing to
23
     December 18, 2023 at 3:00 p.m. in courtroom 506 before Judge Susan M. Brnovich.
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25         Dated this 18th day of August, 2023.
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